
17 So.3d 908 (2009)
UNIVERSITY OF FLORIDA BOARD OF TRUSTEES and Charles W. Leutke, M.D., Petitioners,
v.
John MICHLIK, individually and as personal representative of the estate of Joan Michlik; Eric B. Samuel, M.D.; Steven P. Holliman, M.D., and Shands Teaching Hospital &amp; Clinics, Inc., Respondents.
No. 1D08-1551.
District Court of Appeal of Florida, First District.
September 23, 2009.
*909 Susan L. Kelsey of Kelsey Appellate Law Firm, P.A., Tallahassee, for Petitioners.
William A. Bell, Tallahassee, Gail Leverett Parenti of Parenti &amp; Parenti, P.A., Miami, Caryn L. Bellus of Kubicki Draper, Miami, and Jeffrey M. Scott, Tallahassee, for Amicus Florida Hospital Association, Florida Medical Association, and Florida Defense Lawyers Association.
Maria P. Sperando of Gary, Williams, Finney, Lewis, Watson &amp; Sperando, Stuart, for Respondent John Michlik; John D. Jopling of Dell Graham, P.A., Gainesville, and David O. Doyle of Gray Robinson, P.A., Orlando, for Respondents Eric B. Samuel, M.D., Steven P. Holliman, M.D., and Shands Teaching Hospital &amp; Clinics, Inc.
John S. Mills of Mills &amp; Creed, P.A., Jacksonville, for Amicus Florida Justice Association.
PER CURIAM.
DENIED. See Dannemann v. Shands Teaching Hosp. &amp; Clinics, Inc., 14 So.3d 246 (Fla. 1st DCA 2009); Hannon v. Roper, 945 So.2d 534 (Fla. 1st DCA 2006).
WEBSTER, DAVIS, and LEWIS, JJ., concur.
